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                           UNITED STATES DISTRICT COURT
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           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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 12   Mariano Benitez, individually and on         Case No. 8:19-cv-00098-JLS-DFM
 13   behalf of all others similarly situated,
                                                   [PROPOSED] ORDER GRANTING
 14                                                JOINT STIPULATION TO EXTEND
                                Plaintiff,
                                                   ALL REMAINING DEADLINES
 15
      v.
 16                                                Hon. Josephine L. Staton

 17   Powerline Funding, LLC, a New York
                                         Complaint filed: January 21, 2019
      Limited Liability Company,
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 19                             Defendant.
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 28   [PROPOSED] ORDER GRANTING JOINT        -1-
      STIPULATION TO EXTEND ALL
      REMAINING DEADLINES
Case 8:19-cv-00098-JLS-DFM Document 57-2 Filed 10/01/19 Page 2 of 2 Page ID #:279




  1         The Court, having considered the stipulation of Plaintiff Mariano Benitez
  2   (“Plaintiff”) and Defendant Powerline Funding, LLC (“Defendant”) to extend all
  3   remaining deadlines, the declaration of Taylor T. Smith in support of the stipulation,
  4   and for good cause appearing, hereby orders that all remaining deadlines are
  5   extended by three (3) months. The modified deadlines are as follows:
  6          •     Last Day to File a Motion to Add Parties and Amend Pleadings: January
  7                3, 2020;
  8          •     Fact Discovery Cut-off: May 29, 2020;
  9          •     Last Day to File Motion for Class Certification: June 12, 2020;
 10          •     Last Day to File Motions (excluding Daubert Motions and all other
 11                Motions in Limine): June 12, 2020;
 12          •     Last Day to Serve Initial Expert Reports: June 12, 2020;
 13          •     Last Day to Serve Rebuttal Expert Reports: July 10, 2020;
 14          •     Last Day to File Opposition to Motion for Class Certification: July 10,
 15                2020;
 16          •     Last Day to File Reply in Support of Motion for Class Certification:
 17                July 24, 2020;
 18          •     Last Day to Conduct Settlement Proceedings: July 31, 2020;
 19          •     Expert Discovery Cut-off: August 7, 2020;
 20          •     Last Day to File Daubert Motions: August 14, 2020;
 21          •     Last Day to File Motions in Limine (excluding Daubert motions):
 22                September 4, 2020; and
 23          •     Final Pretrial Conference (10:30 a.m.): October 9, 2020.
 24   IT IS SO ORDERED.
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 26   Date: ___________________              ______________________________
                                             Hon. Josephine L. Staton
 27                                          United States District Judge
 28   [PROPOSED] ORDER GRANTING JOINT       -2-
      STIPULATION TO EXTEND ALL
      REMAINING DEADLINES
